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                                UNITED STATES DISTRICT COURT                     MAYzB2014
                            FOR THE NORTHERN DISTRICT OF ILLINOIS

GREGORYALEX,
                                                                          cLEJ[oJSiEf#8I8U'-'

               Plaintiff,

vs.                                                     1   4cv382 t
                                                        i"i*. Chu'lt' R' Norgle' Sr
THE CITY OF CHICAGO;ITHE CHICAGO
PUBLIC SCHOOLS; THE BOARD OF
                                                        ',;;iJate         I Schenkier
                                                                          Sidney
EDUCATION OF CHICAGO, Il,)and
MYRON L. HESTER (Principal), in his
Offrcial and Individual Capacities,

               Defendants.

                                 COMPLAINT AND JURY DEMAND

       Plaintiff, GREGORY ALEX, representing himself "pro se," do hereby submit the following

Complaint and Jury Demand against Defendants: THE CITY OF CHICAGO, THE CHICAGO

PUBLIC SCHOOLS, THE BOARD OF EDUCATION OF CHICAGO, and MYRON L. HESTE&

"Principal," in his Official and Individual capacities, hereinafter referred to as "Defendants" In support

thereof, Plaintiff submits the following:

       This action alleges violations of Due Process, pursuant to the Fifth Amendment to the U.         S.


Constitution; Equal Protection, pursuant to the Fourteenth Amendment of the U. S. Constitution; Title

VII of the Civil   Rights Act   of 1964; Title IX of the Educational     Amendments     of   1972; Sexual

Harassment; Fraud, Defamation      of Character, Slander, Libel, and Emotional Distress. In filing this

claim, Plaintiff is exercising his First Amendment Right to petition the govemment for a redress of

grievances, and his SeventhAmendment Right to a trial by jury.

       This cause of action arises from Plaintiffs departure from a position he'd been deemed qualified

for, due to the illegal and fraudulent actions of Defendants. Plaintiff alleges that the arbitrary and

capricious manner in which Defendants acted in determining his fitness for continued employment, was

illegal and against his constitutional and civil rights. Defendants took no steps to verify the false,
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                                                                                                     oosexual
defamatory and slanderous statements made against Plaintiff, indicating he was involved in a

harassment complaint," among other "sexual" things. Part of the damages Plaintiff alleges is that his

dismissal from a newly acquired position was procured through fraud, deception, constitutional rights

violations, was for purely personal reasons, was illegal and was arbitrary and capricious.

       Plaintiff does not allege that his dismissal violated any of his constitutional rights. Moreover,

plaintiff frankly concedes that his dismissal complied with the minimal procedural requirements

imposed by applicable federal law for probationary employees. Plaintiff simply contends that his

discharge was procured illegally through fraud arbitrarily and capriciously. He urges this Court to

exercise review only on that basis. Plaintiff seeks judicial review as to the question of whether the

procedures used to determine his fitness for continued employment were "arbitrary and capricious,"

defamatory slanderous, libelous, and illegal by nature. "... all three courts concluded that they had

the power to exercise the sort of limited review requested by plainttff   in this case." Lutz v. U.S. Postal

Service, 538 F. Supp. 1129 (E.D.N.Y.

       Defendants failed   to follow their own    standards, policies and procedures prior      to   passing

judgment upon    Plaintiff. Further, Defendants,    causing   to come into    existence   a "sexual hostile

environment," created a hostile work environment towards Plaintiff and interfered with the efficient

functioning of the office. The method and standard exhibited by Defendants were not legal, fair nor

reasonable, and all resulting decisions were not exercised and put forth in good faith.

               Federal judges do not sit as ombudsmenfor government employment
               relations citing Bishop u Wood nor do we indulge in the conceit of
               substituting our own iudgment ad libitumfor that of the agency-
               Rather, ree concern ourselves in the personnel business only insofar
               ss is necessary to ossure that the action challenged (1) is not arbitrary
               or capricious; (2) was reached in conformity with relevant procedural
               requirements; and (3) was not otherwise unconstitutional." Doe u
               Hamoton 184 U.S.App. D.C.373,566 E2d 265,271-72 (D.C. Cir-1977)

        Due to the sexual nature of comments made against Plaintiff in an email created, and passed on

by Defendants on November 21,2013, Defendants had a duty to frrther investigate and treat this matter
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in the manner as per policy. The written and verbal communication connecting Plaintiffwith a "sexual"

situation warranted further review. Documents       will   show that Defendants used an invalid, unsigned

document not pertaining to the business of Defendants and Plaintiff, and arbitrarily and capriciously

ended his booming career.      It is clear that Defendant's action   were not based upon consideration of

relevant factors in regards to Plaintiffs career, future, reputation, and ability to support himself. Their

actions   in   depriving Plaintiff   of his Constitutional, Human and Civil Rights were so arbittary,
capricious, and an abuse of power, that it was not in accordance with Illinois law. Natural Resources

Defense Council. Inc. v. United States EPA,966F.2d L292,1297 (9th Cir. 1992). Defendant's actions

against Plaintiff were not supported by logic or the necessary facts to justify such judgment made

against him. Defendant's actions are the proximate cause of damages sustained by Plaintifl to      wit:   lost

wages, damage to his career and future earning potential; intentional infliction of emotional, mental

suffering and distress, pain and suffering; violation of due process of the laws and equal protection; and

effectively denying Plaintiff access to educational opportunities within his chosen field. This is a case

of willful and wanton conduct by Defendants and an intentional effort to cause damage to Plaintiff.

                 Although the Supreme Courtts opinion in Bishop concludes wilh rather
                 sweeping language (which might lend itself to some misinterpretation),
                                                               ttmany
                 one recent decision correctly observed that          federal district courts
                 and courts of appeals nevertheless       have found that the decisian in
                 Bishop u Wood does not preclude review of personnel decisions made by
                 government employerc, even in the absence of any allegation of a
                 violation of constitutional rights."_Ro$_u Unitei! States Postal Service.
                  556 E Supp. 729, 732 (N.D. Alabama 1983). The Court notud that there
                 is still ample precedent'for providing a namowly limited review of
                 personnel decisions made by the Postal Service" to determine "whether
                  its actions were arbitrary or capriciotts" Id 733.

          Plaintiffhad a liberty interest infreedom from being unfairly and unreasonably judged, in an

arbitrary and capricious manner. He therefore, brings forth this 1l-Count action. Plaintiffs tort claims

are inextricably linked to a   Civil Rights violation, thus, the Court may exercise jurisdiction over these

tort claims as well.
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       I


I


I.    JURISDICTION AND YENUE
           1.    This court has jurisdiction pursuant to Illinois Supreme Court Rules 10-100(a),
                 governing access to justice to establish, promote, facilitate, and enhance equal access to
                 justice with an emphasis on access to the Illinois civil courts and administrative agencies
                 for all people, particularly the poor and vulnerable.

           2.    A plaintiff with a claim for relief under the Civil fughts Act, 42 U. S.C., is not required
                 to exhaust state judicial remedies. See, e. g., Monroe v. Pape, 365 U.S, 167, 81 S.Ct.
                 473, 5 L.Ed.2d 492 (1961).

           3.    This Court has jurisdiction over actions brought urder Title VII of the Civil Rights Act
                 of 1964, which governs hostile work environments.

           4.    Federal courts have exercised their inherent power of review over "arbitrary or
                 capricious" agency action. Jordan v. Bolger, 522F. Supp. 1197 (N.D. Miss. 1981),
                 affrrmed, 685 F.2d 1384 (5th Cir.1982).

           5.    This is also an action to redress the deprivation of Plaintiffs Constitutional rights under
                 the 5th and l4thAmendment of the U.S. Constitution pursuant to 42 U.S.C. 1981.

           6.    Plaintiffbrings this action to redress his right to due process, defamation of character,
                 slander, and libel pursuant to 42 U.S.C. $ 1983, and28 U.S.C., $ 1331.

           7.    It is well settled that in appropriate   cases, the federal courts may grant relief from   prior
                 actions, decisions and judgments obtained by fraud. Marine Ins. Co. v. Hodgson,            11
                 U.S. (7 Cranch) 332 (1813); See FED. R. Civ. P.60(b)

           8.    Venue is proper in this district since all defendants reside or resided in this district; or
                 did business in this district, and the events giving rise to claims occurred in this district.

           9.    Venue is proper in this district pursuant to 28 U.S.C. 1391(b), since all Defendants reside
                 or resided in this district and the events giving rise to the claims occurred in this district.

II.   THE PARTIES
           10.   Plaintiffis a U.S. Citizenand a former public employee of the Board of Education of
                 Chicago. He has been a resident of Chicago his entire life.

           11.   At all material times, Plaintiffwas      a resident   of the City of Chicago, County of Cook,
                 State of Illinois.

           t2.   At the time of the events as stated herein, Plaintiffwas       a   probationary employee
                 working within the Chicago Public School System.

           13.   Defendants, The City of Chicago, is a Municipal Corporation, doing business as a
                 public, educational entity in the City of Chicago, State of Illinois.

           14.   Defendants, The Board of Education of Chicago and The Chicago Public Schools, is a
                 public education institution located in the State of Illinois, City of Chicago.
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     15.   At all material times, Defendant Myron L. Hester ("the Principal"), in his official
           and individual capacities, worked and lived within the State of Illinois.

III. APPLICABLE LAW AND POLICY
     16.   The Fourteenth Amendment to the United States Constitution provides in pertinent part,
           that no State shall "deny to any person within its jurisdiction, the equal protection of the
           laws." U.S. Const. Amend. XIV, $1.

     17.   28 U.S.C., $ 1331 states in pertinent part that the district courts shall have original
           jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
           United States.

     18.   28 U.S.C. $ 1343 provides Plaintiffwith the right to damages and redress when deprived
           of his liberty, rights and property.

     t9.   The FifthAmendment to the United States Constitution provides in pertinent part, that
           no person shall be deprived of life, liberty or property, without due process of law.

     20.   Title VII of The Civil Rights Act of 1964 provides against a hostile work environment,
           warding off "discussions" of a sexual nature.

     2t.   Defamation of Character is defined by District Courts as'Any intentionalfalse
           communication, either written or spoken, that harms a person's reputation; decreases
           the respect, regard, or conftdence in which a person is held; or induces disparaging,
           hostile, or disagreeable opinions orfeelings against a person." A private citizen's
           reputation and privacy interests tend to outweigh free speech considerations and deserve
           sreater protection from the Courts. See Gertz v. Robert Welch, Inc., 418 U.S. 323,94 S.
           ct. 2997 , 4l L. Ed.2d 789 U974).

     22.   Fraud is defined by District Courts as being stripped of something by someone using
           dishonest, unfair, unreasonable methods. "The power of thefederal courts appears to be
           expressly recognized in rule 60(b) of the Federal Rules of Civil Procedure, which states
           in part: this rule does not limit the power of a court to entertain an independent action
           to relieve a partyfrom a judgment, order or proceeding."

                                                    o'Oral
     23.   Slander is defined by District Courts as        defamation, in which someone tells one or
           more persons an untruth about another which untruth will harm the reputation of the
           person defamed. Slander is a civil wrong (tort) and can be the basis for a lawsuit." The
           slander must, of course, be published, that is, communicated to a third person.

     24.   Libel is defined by District Courts as "To publish in print, an untruth about another
           which will do harm to that person or hislher reputation, by tending to bring the target
           into ridicule, hatred, scorn or contempt of others. It is a tort (civil wrong) making the
           person or entity open to a lawsuit for damages by the person who can prove the
           statement about him/her was not true.

     25.   Intentional Infliction of Emotional Distress is defined by Courts as, "A claim of damages
           in lawsuits for injury due to the negligence or intentional acts of another. Recently
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          courts in many states, including New York and California, have recognized a right to an
          award of money damages for emotional distress without physical inju.y or contact.

IV. COMMONALLEGATIONS
    26.   Plaintifl GREGORYALEX,        an aspiring 25-year-old gentleman, holding a Bachelor's
          degree in "Recreation, Sports and Tourism," began his career at the City of Chicago,
          Chicago Public School System / The Board of Education of Chicago, in September,
          2013.

    27.   While working at Kozminski Academy, located at936 E. 54th Street Chicago, Illinois
          60615 and due to having to work in a hostile sexual environment, Plaintiff took steps to
          remove himself from said environment, by applying for and being hired for a new
          position,located at Ellington Elementary School in Chicago,IL.

    28.   By all indications, Plaintiffwas moving up the ladder of success rather quickly.

    29.   Plaintiff, with a promising career and future, passed two major employment interviews
          with Defendants within a 6-month period.

    30.    On or about December 19,2013, Plaintiffs dream to move up and excel in his chosen
           career and field came to an abrupt end. Although he received high praise at the job he'd
          just been deemed eligible for, and he left Kozminski Academy with no write-ups in his
          employee file, Plaintiffwas terminated due to the arbitrary and capricious manner in
          which Defendants acted regarding his fitness for continued employment.

    31.   Defendant Myron L. Hester wrote an email on November 21,2013 and falsely accused
          Plaintiffof being involved in a sexual harassment complaint and other sexual issues,
          hence, defamation of character, fraud, slander, and libel; in addition to being subjected
          to a hostile work environment and Civil Rights violations.

    32.   Pursuant to the U.S. Department of Labor, "A hostile environment can resultfrom the
          unwelcome conduct of supervisors, co-workers, customers, contractors, or anyone else
          with whom the victim interacts on the job, and the unwelcome conduct renders the
          worlqlace atmosphere intimidating, hostile, or offensive. Examples of behaviors that
          may contribute to an unlawful hostile environment include: discussing sexual activities"

    55.   In January, 2014, Plaintiffexercised his right to request his employee file to gain
          some insight as to why he was terminated when he was getting such high praise from
          staffat his new location and had never been written up or disciplined at his previous
          location.

    34.   Upon receipt of the contents of his employee file, Plaintiffnoticed there was just one
          document: An email dated November 21,2013. (ExhibitA)

    3s.   In the email dated November 21,2013, Defendants created and passed along to others,
          false, slanderous and defaming statements against Plaintiff.

    36.   Defendants accused Plaintiff of being charged with in sexual harassment complaint,
          based on an "incident report," written out by Lisa McDonald, a non-CPS employee and
          bus aide.
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                                                      no signature of anyone o-rayt-rror-ttv' it does
                                                                                                      not
37.         The incident report was not signed, bears
            indicate it was passed on to anyone, .*."pt
                                                        rtu:itttiffs place Lf work' it had not been filed
                                                              suggest sexual harassment' (Exhibit B)
            with any agency or governing body; ana aia not
                                                             occurs "in the workplace'" The bus
38.         It is common knowledge that sexual harassment                                         out
                                                       and the email of November 27' 2013 starts
            aide did not work *tt"i. Plaintiffworked,                                  property' 42
                                                         unpaid lunch break, offwork
            about an incident rhut o".r*ed on Plaintiffs
            U.S.C.A. $ 2000e et seq'

                                                     Complaint, however' they accused Plaintiff
39.         Defendants never saw a Sexual Harassment
            of it anywaY.
                                                         not a tribunal, hearing' Board or other
 40.        The only person Plaintiffstood before, was
                                      he worked, but rather, "only" Defendant,
                                                                                  Myron L' Hester, the
            persons outside of *t
                                  "."that created, and passed o, ih" email of November 2l'2013'
            principal and individual

 41.         Therefore,theverypersonthatfalselyaccusedPlaintiffviatheemail'istheonethat
             decided his fate.

                                                             "sexual harassment" and sexual tones
 42.         Plaintiffcontends it is Defendants that brought
             into play.
                                                           towards   another person while on the job'
 43.         Sexual harassment is "repeated" inappropriate

                                                              which alleges someone "asked"
 44.         Defendants named just one incidentin his email                                    sexual
             plaintiffa question"about a crumb. By Federar Standards, that does not constitute
             harassment, nor did the incident actually
                                                       happen'

                                                              The words used against Plaintiffare so
  45.        Defendanfs defamatory statements are per se'
             obviously una *ut..iuifynur*fu1to him, that
                                                              injury to his reputation' 4itity to earn a
                                                                    is well presumed' Bryson v' News
             living, and work in rris .hor"r, field and profession,
             Ameiican Publication 17 4 lll' 2d 7 7 (1 996)'

                                                            should have know that what the non-cPS
  46.         As a person of authority, Defendantsknew or
                                                               of sexual harassment' was not sexual
              employee nff"O o"i, Jii'not contain the elements
                                                              Board of Education and Chicago Public
              harassment, no, aiA ii involve City of ihicago,
              School business.

              Defendants, in accusing Plaintiffof being
                                                        involved in asexual harassment complaint'
  47.
                                                           and acted in an arbitrary manner thereof'
              was not acting in the scope of their brs#ss;

                                                           November 21,2013, were the very reason
  48.         The false statements in Defendant's email of
              plaintiffwas "terminated" from his new position, indicating a fraudulent act'

      49.      TheemailofNovember2l,2Ol3,indicatesthat,insteadofDefendantssimplyending
                                                                       needed' was in fact given and
               Plaintiffs employment, a reason that wasn't paiicularly
               used against him.
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50.      Defendant's defamatory slanderous, false statements made against Plaintiff impeached
         his reputation, which in effect, lowered him in the estimation of the community, and has
         the potential to lower it in the future.

51.      Defendant's defamatory false statements made against Plaintiffdeterred another party
         from associating with him. Kolegas v. Heftel Broadcasting Com ., l54lll.2d 1,607
         N.E.2d 201, 180Ill. Dec. 307 (1992).

52.      Defendant's defaming statements caused and led to Plaintiffs disassociation from the
         position he had just been deemed eligible for, and was excelling in.

53.      When Defendants "gave a reason" for terminating Plaintifl when a reason was not
         needed as a probationary employee, that made his exit from his employment with
         Defendants, based on that very "reason" which supports his claim of arbitrary and
         capricious.

54.      Plaintiffs damages and termination was due to arbitrary and capricious manner in which
         Defendants handled Plaintiffs termination and the email of November 21,2013.

55.      That action prejudiced Plaintiffs new position which imputed a lack of ability in
         Plaintiffs trade, career and profession.

                                         COUNT     I
      VIOLATION OF THE sTHAMENDMENT OF THE U.S. CONSTITUTION
                            PROCEDURAL DUE PROCESS
           Defendant's Deliberate Indffirence to False, Defamatory Statements
      were Arbitrary and Capricious, and Deprived Plaintiff of Due Process of the Law

56.      Paragraphs one through 55 are incorporated by reference as if stated in   full herein.

57.      Defendants violates Plaintiffs right to Due Process under the FifthAmendment to the
         United States Constitution by conducting a proceeding that was not factually related
         with respect to proof of the claims made against him.

58.      Plaintiffs dismissal resulted from "such a substantial departure from accepted academic
         noffns as to demonstrate that the person or committee responsible did not actually
         exercise professional judgment." 474 U.S. at225.

59.      Due Process requires "minimum standards" of protection and firndamental faimess,
         which is lacking in this case. Dunmar v. Ailes, 348 F.2d 51, 54 (D.C. Cir. 1965).

60.      Plaintiff, as a public, educational employees, could not be denied property or liberty
         rights without due process of law. Liberty rights include things such as a person's
         reputation (i.e., being accused of acts damaging to a person's reputation).

61.      Defendant's false allegation that a sexual harassment complaint had been filed against
         Plaintiffwas  so severe, pervasive and objectively offensive that it deprived Plaintiffof
         access to an educational career within his chosen field and stripped him of the benefits
         provided by the school when hired to a better position, based on the arbitrary and
         capricious manner in which Defendants acted.
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                                        COT]NT II
                     VIOLATION OF THE 14TH AMENDMENT
                  oF THE U.S. CONSTITUTION -- 42 U.S.C. S 198r
Though a IJ.S. Citizen, Plaintiffs "Probationary" Status Stripped Him of Equal Protection

62.    42 U.S.C. $ 1981 (1970) provides: "All persons within the jurisdiction of the United
       States shall have the same right in ever State and Tbritory to make and enforce
       contracts, to sue, be parfies, give evidence and to thefull and equal beneftt of all laws
       and proceedings..."

63.    Paragraphs one through 62 are incorporated by reference as if stated in    full herein.

64.    Plaintiffs Federally protected interests were implicated, thus, it was paramount that     he
       exercised his right to some kind of prior hearing, other than the arbitrary and capricious
       one conducted by Defendants. "But the range ofinterests protected by procedural due
       process is not infinite. " Board of Regents v Roth, 408 U.S. 564,569-71 (1972).
       Developments under the Fifth Amendment's due process clause have been
       interchangeable. Cf, Arnett v. Kennedy, 416 U.S. 134 (1974).

65.    Plaintiffalso had a liberty interest in freedom from wrongfully or excessively
       administered corporal punishment, whether or not such interest was protected by statute.

66.    The Equal Protection Clause requires each state to provide equal protection under the
       law to "all people" within its jurisdiction.

67.    Under the Fourteenth Amendment, Plaintiffhad the right as an educational employee, to
       bodily integrity and equal protection of the laws, and that his fate not be judged
       arbitrarily and capriciously.

68.    Defendants were all state actors, acting under the color of State Law.

69.    No one ever never asked to see the sexual harassment complaint Plaintiffwas said to be
       involved in, as per Defendant Myron L. Hester's email of November 21,2013.

70.    Plaintiffhas suffered emotional distress, lost wages, mental sufflering, and his character
       and standing in his community has suffered from the baseless sexual harassment claim,
       and manner in which Defendants acted, which fostered as a direct and proximate result
       of Defendant's deliberate indifference to Plaintiffs welfare and well-being.

71.    Immediately after being made aware of a "private matter," Defendant Myron L. Hester,
       instead of removing himself and remaining focused on the business he was hired to
       perform, he used that matter, that was not sexual harassment, against Plaintiff.

72.    If another U.S. Citizen that worked at the same location as Plaintiff,   and had the exact
       same issue happen they would have been treated differently and the matter would
       have been handled differently, because they were not labeled " probationary."

73.    Because of a label placed upon   Plaintiffby Defendants, his right to equal protection of
       the laws were compromised.
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   74.     Plaintiffcontends, Federal law, Constitional, Civil and Human fughts does not change or
           disappear simply by working at a particular place, nor does where a person works give
           another person the right to harm or damage someone.

   75.     The very protections the U.S. Constitution provides to Plaintifl are the ones that
           Defendants stripped him of.

                                           COUNT     III
     ARBITRARYAND CAPRICIOUS BOARD ACTION AGAINST PLAINTIFF
  The Manner Used to Determine Plaintiffs Continued Fitness For Employment Was lllegal

   76.     Pursuant to the Chicago Public Schools Policy Manual, Section 5004.1, Board Report
           No.: 04-0728-PO1, "At-will employees may be discharged from employment with or
           without cause...r'

   77.     As a probationary employee, Plaintiffs argument is not that the with or without cause
           was ca:ried out, but ratheq "the manner" in which the "with cause" was conducted.

   78.     Defendants accused Plaintiffof being involved in a sexual harassment claim. Federal
           law state that those accused of sexual harassment are the surme as those accused of a
           tort... they have the right to air their defense in a fair, impartial tribunal.

   79.     Defendants never requested to see any true and accurate documentation pertaining to
           Plaintiffbeing involved in a sexual harassment complaint.

   80.     Defendants violated State and Federal law by arbitrarily and capriciously determining
           Plaintiffs fitness for continued employment, despite clear and convincing evidence that
           he was doing a good job and was accepted into a new position.

                                           COUNT IV
                Violation of Title IX of the Educational Amendments of 1972
                                   20 U.S.C. g 1681 (a)
Defendants Discussed Sexaul Issues with Plaintiff, and [Jsed It Against Him Causing Damages

  8l   .   Paragraphs one through 80 are incorporated by reference as if stated in   full herein.

  82.      Plaintiffmeets the standards and requirements as set forth concerning the elements of
           a hostile work environment based on:

                   a)     He was subjected to the false allegation and accusal of sexual harassment,
                          which is a form of sexual assault by the Principal.

                   b)     Sexual issues were discussed with Plaintiff, by Defendants, which had
                          nothing to do with his job performance, school employees or his official
                          duties.

                   c)     He was subjected to a hostile educational environment created by the
                          Principal's lack of policies and procedures in dealing with private matters
                          between two adults; and failed to properly investigate and or address the
                          false allegation of a sexual harassment complaint.
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 83.        Defendants actually   h_1d no knowledge of a sexual harassment complaint. The resulting
            harassment of   Plaintiffin the workplace, was created by Defendant's failure to
       .    investigate.

 84.       Due to Defendant's arbitrary and capricious manner in handling a sexual harassment
           allegation, Plaintiffwas denied the benefits of education programs and involvement in
           violation of Title IX.

 85.       Defendants persisted in its actions and inaction even after it had actual knowledge of the
           harm suffered by Plaintiff; and that no sexual harassment complaint had ever been filed.

 86.       Defendants engaged in a pattem and practice of behavior designed to discourage and
           dissuade individuals accused of a criminal actby it's employees.
 87.       Plaintiffhas suffered emotional distress, lost wages, mentaisuffering, and his character
           and standing in his community has suffered from the baseless sexual harassment claim,
           which Defendants fostered as a direct and proximate result of Defendant's deliberate
           indifference to the severity of a false sexual harassment complaint.

                                        COUNT V
           VIOLATION OF TITLE VII OF TIIE CIVIL RIGHTS ACT OF 1964
                                  42 U.S.C; 524U.5.775
             Defendants subjected Plaintiffto sexual, Hostile work Environment

88.        Paragraphs one through 87 are incorporated by reference as if stated in   full herein.
89.        Plaintiff, while standing in the office of Defendant, Myron L. Hester, found himself
           being subjected to having to listen to and discuss a sexual issue that had nothing to do
           with his employment or work performance.

90.    Plaintiffcontends, after putting forth hard work and adhering to company rules and
       policies, as a citizen of the united states, he was entitled to rights.

                    The ordinance deftnes sexual harassment as "any unwelcome
                   sexual advance, request for sexual favors, or conduct of a
                   sexual nature when (a) submission to such conduct is an
                   explicit or implicit term or condition of an individualts
                   employment; or (b) submission to or rejection of such conduct
                   by an individual is used as the basis for any emproyment
                   decision affecting the individaal; or (c) such conduci hus the
                   purpose or effect of substantially interfering with an
                   individual's work performance or creating an infimidating,
                   hostile, or offensive working environment." s 421s(e) (2002).

9t.    Plaintiffhad a right to go to work and not be faced or subjected to sexual comments
       or actions from his supervisor or any employees for that matter.

92.    Defendant's sexual comments about Plaintiffsabotaged his new position, his work, his
       career, his future, and his ability to support himself.
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93.    Defendants had every right to terminate Plaintiffs employment at the end of his
       probationary period. However, in the instant case, his termination was not based on
       policy and procedure, but was based upon the arbitrary and capricious manner in which
       his termination was handled.

                                     COUNT VI
                             SEXUAL HARASSMENT
                      Title VII of the Civil Rights Act of 1964
        Defendants Associated Plaintiff Wth Sex Wa Written and Verbal Actions

94.    Paragraphs one through 93 are incorporated by reference as if stated in    full herein.

95.    The Act goes on to state that it is a "civil rights violation" for any employer or employee
       "to engage in sexual harassment." 775LLCS 512-102(D) (West 1994)
96.    Defendant confronting Plaintiffwith a "sex" issue, caused and led to the emotional
       damages as stated herein.

97.    Plaintiffcontends, Defendants communication conceming sexual issues was
       uncomfortable and stressful, and were not related to his employment or official duties.

98.    Defendant's conduct interferred with Plaintiffs duties at work, and subsequently his fate
       as an employee.

99.    Defendant's actions and comments created an intimidating, hostile and offensive work
       environment for Plaintiff. 775ILCS 512-l0l(E) (West 1994).

100.   Plaintifflearned from the email of November 21,2013 of yet another sexual situation
       Defendants had associated him with. An incident about crumb on Plaintiffs face was
       created, that never happened. It was written in a sexual manner.

101.   While at Kozminsky Academy, Plaintiffwas faced with another sexual situation.
       Workers, hearing about the Principal speaking to Plaintiffabout a sexual situation,
       approached him as well.

                                    COUNT VII
                         DEFAMATION OF CHARACTER
          The email of November 21, 201j defamed the character of Plaintiff
                    andwas Handled Arbitrarily and Capriciously
102.   Paragraphs one through 101 are incorporated by reference as if stated in   full herein.
103.   Plaintiff, as a private figure, need not demonstrate actual malice, but "must bear the
       burden of showing that the statements at issue are false before recovering damages for
       defamation. Philadelphia Newspapers. Inc. v. Hepps, 475 U.S. 7 67, 777, 106 S.Ct. I 558,
       89L.8d.2d783 (1986).

104.   Defendant's email of November 21,2013, meant and intended to convey that substantial
       questions are raised as to whether Plaintiff was a man with sexual hangups and issues.
       That is a false perception.
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105.         Defendants created a clear impression that Plaintiffis unfit to work in his chosen field,
             in a position he'd just been deemed elibible for.

106.         Defendant's email "created a false implication that Plaintiffwas to be avoided because
             of his sexual ways. Defendants depicted Plaintiffas someone or something which he is
             not.

I07     .    Plaintiffs Exhibit A is the email of November 21,2013. It clearly makes several sexual
             accusation against and pertaining to him, that was not investigated, verified, nor looked
             into by Defendants, indicating an arbitrary and capricious act, as well as aiding and
             abetting.

108.         According to the Doctrine of Respondeat Superior, the employer is responsible for the
             actions of his employee, within the course of their employment.

                   Here, in contrast, Stanton has alleged that Metro defomed her by
                   making a statement susceptible to the interpretation that she
                   engages in sexually promiscuous behavior. Thot statement is clear
                   enough to support a defamation claim, particularly under the
                   circumstances. See Restatement (Second) of Tbrts S 566 cmt e
                   (1977) ( uWords uttered face to face during an altercation may
                   well be understood merely as abuse or insult, while words written
                   after timefor thought or published in a newspaper may be taken to
                   express the defamatory charge and to be intended to be taken
                   seriously."
109.         Defendants, creating and passing along the statements were done with malice with the
             intent to cause Plaintiffharm.

                   Thus, in deciding whether        a statement is susceptible to a
                   defamatory interpretation,       the court must gaage the
                   reasonableness of the interpretation based on what u considerable
                   and respectable segment of the community would make of the
                   statemenl Our recent decision in Amruk makes this clean
                   There, the plaintiff claimed that the defendants had "portrayed
                   th@ as a homosexual by miscaptioning u picture of a
                   homosexual individual with [the plaintiffsJ name" in their
                    publications. 410 F.3d at71.
I10.         Defendants statements written and spoken about Plaintiffdefamed his character and led
             to his dismissal.

1   I   1.   Just the sexual harassment comments alone, causes Plaintiff damage. Those words in
             "anyone's" file can damage their future and their livelihood.

                    't... we must "give weight to cautionary terms used by the person
                   pablishing the statement," Myers u Boston Magazine Co., 380
                   Mass. 336, 341-42, 403 N.E.2d 376, 379 (1980), the non-
                   defamatory character of a statement will rarely depend solely on
                   the presence of qualifying language. See, €.9., Cole v.
                   Westinghouse Broad. Co., 386 Mass. 303, 309-12, 435 N.E.2d
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                1021,1025-27 (1982) (considering speaker's characterization of
                statement about plaintiffs.firins as "unofficial" as one factor in
                whether statement defomatory); Restatement (Second) of Torts $
                563 cmt c (1977) ("A conditional or alternative statement may be
                defamatory if, notwithstandingils conditional or alternativeform it
                k reasonably understood in a defomatory sense.").

                                  COUNT VIII
                                   SLANDER
  The Email of November 21, 201i was written and passed on to other about Plaintiff

ll2.      Paragraphs one through 111 are incorporated by reference as if stated in fuIl herein.

113.      Defendant's false statements made against Plaintiffwere spoken. Illinois recognize oral
          defamatory statements as Slander.

ll4.      At Plaintiffs place of employment, of all places, he was forced to stand before his boss,
          and discuss a sexusl personal, private matter, verbally. That encounter led to his writing
          in and sending it electronically, to others.

115.      Plaintiffhas no idea how many people read or saw the email, which will continue to
          cause stress, emotional distress and damage upon him, due to the uncertainty of it and
          the fact that it was sent electronically.

116.      Punitive Damages are recoverable upon an award of Slander. Plaintiffreserves the right
          to request leave at a later date, to plead Punitive Damages.

                                            COUNT     IX
                                              LIBEL
                  The email of November 21, 2013 was verbal, and spoken
                                 to others, damaging Plaintiff

ll7   .   Paragraphs one through   11   6 are incorporated by reference as if stated in   full herein.

118.      Defendant's efamatory false statements made against Plaintiff were written. Illinois
          recognize written defamatory statements as libel.

                408   IIL 512,518, 97 N.E.2d 343, 346, 347. Illinois law reqaires
                that, for the defense to prevail, the truth of all facts in the
                utterance must be shown together with good motiveforpublication.
                People u Strauch, 247 IA. 220, 93 N.E. 126; People u Fuller, 238
                IA. il6, 87 N.E. 336; cJ,, Ogren v. Rockford Star Printing Co., 288
                14.405,123 N.E. 587.
119.      Plaintiffhas met his burden in proving to this Court that Defendant's statements were
          false. In the alternative, Defendants are uanable to prove they were true.
                Because "[tJhe meaning of these statements is imprecise and open
                to speculation . [tJhey cannot be proved false" and therefore
                "cannot be held libellous.' Cole, 386 Mass. at 312, 435 N.E.2d at
                1027.
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120.    A writing is a libel if, in view of all relevant circumstances, it discredits the plaintiff in
        the minds, not of the court, nor of wise, thoughtful, and tolerant men, nor of ordinary
        reasonable men, but of any considerable and respectable class in the community.
        Ingalls v. Hastings & Sons Publ'g Co.,304 Mass. 31,33,22N.8.2d657,658-59 (1939).

               "... disparaging statements were false or that the defendant was in
               reckless disregard of thisfalsity." Pecora u Szabo,9 lll.App.3d 57,
               418 N.E.2d 431,49 IlLDec. 577 (2nd Dist. 1981)

                                       COUNT X
                                        FRAUD
                    (Defendants Deliberately Created a False Scenario
                          which led to PlaintiffLosing His Job)

1,21.   Paragraphs one through 120 are incorporated by reference as      if   stated in   full herein.

122.    Defendants deceptively and deliberately secured an unfair and unlawful gain against
        Plaintiff, which was the loss of his employment, and the opening of a position due to his
        termination.

123.    Illinois law allows those damaged by another's fraudulent actions to sue to recover
        monetary compensation.

124.    Defendants used dishonest methods to take something valuable from Plaintiff, which
        was his livelihood, his liberfy and freedom to work where he please, in addition to
        damage to his reputation, his standing in the community, his Civil, Human and
        Constitutional Rights and lost wages.

125.    Plaintiffcontends, it is fraud perpetrated by Defendants and their subsequent handling           of
        that fraud, which was arbitrary and capricious, that led to where the parties are today.

                               COUNT XI
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                            (Group Exhibit C)
               Defendant's actions were meant and intended to cause harm
                         upon Plaintiff; and they did cause harm

126.    Paragraphs one through 125 are incorporated by reference as if stated in          full herein.

127.    Plaintiffs Group Exhibit C are statements from those close to Plaintiff, regarding how
        this situation has affected him.

128.    Defendant's defamatory slanderous, and false statements were intended to paint Plaintiff
        in a negative, sexual light; and did in fact, paint Plaintiffin a negative, sexual light.

129.    Defendant's arbitrary and capricious manner in which they determined Plaintiffs fitness
        to continueemployment; and their defamatory false statements made against him were
        the proximate ause of Plaintiffbeing placed on a "Do-Not-Hire" list.
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      130. It is not customary    of The Chicago Public Schools to "blacklist" employees that were not
             retained after their probationary period ended.

      131.   Plaintiffs probationary period had not ended.

      I32.   The principal at Plaintiffs new location, Ellington Elementary School, stated to him that
             he is welcome to retum there once his name is removed from The City of Chicago,
             Chicago Public Schools Do-Not-Hire list.

      133.   Plaintiffhas suffered mentally, emotionally and physically due to the actions of
             Defendants and the effect the damaging, false, defamatory slanderous email will have
             on his future. "Second, the Court's solutionfailed because the Court defined "actual
             injury" to include not only impairment of reputation, but also personal humiliation, and
             mental anguish and suffiring. Thus, a plaintiffwho cannot prove harm to his reputation
              still can recover damages if he can prove mental anguish. The expansiveness of this
             actual injury standard was compounded by the Court's statement that "there need be no
             evidencewhichassignsanactualdollarvaluetotheinjury.,,@350

      134.   Defendant's actions are the approximate cause of Plaintiff experiencing many sleepless
             nights, headaches, upset stomach, loss of appetite, emotional and mental distress, and
             continued worrying over the slanderous, defamatory false statements made against
             him, and the effect it had on his new position. The Principal at Ellington stated that she
             hated to see Plaintiffleave.

      135.   It wasn't Principal Myron Hester's duty responsibility    job to judge or adjudicate a
                                                                      or
             personal matter that was not filed. "Generally, all persons who cause or participate in
             the publication of libelous or slanderous matters are potentially liablefor such
             publication " f&u-Horns, 185 I1l. 2d299 (1999).

      136. If a defamatory   statement is actionable per se, damages are presumed and the plaintiff
             need not plead or prove actual damage to his or her reputation to recover. Bryson v.
             News American Publication, 17 4 lll. 2d 77 (1996).

      137.   Illinois follows the Restatement (Second) of Torts and allows recovery for economic
             loss, damages for mental suffering and resulting bodily harm, personal humiliation, and
             impairment of personal and professional reputation and standing in the community.
             Brvson v. News American publications" Inc.

      138.   Plaintiffis entitled to amount he is requesting - the maximum amount this Court allows.
             Punitive damages are recoverable if defamatory statements made with actual malice.
             Gibson v. Phillip Morris. Inc., Ill. App. 3D 267,279 (1997).

v. DEFENDANTS DOES NOT HAVE IMMUNITY FROM THIS ACTION
   TheirActions were Deliberate, Intentional, Willful and Wanton
      139.   In Morse v. Frederick, the U. S. Court of Appeals reversed a lower court's ruling that a
             Principal was immune from lawsuits. "The District Courtfound no constitutional
             violation and ruled infavor of Morse. The court held that even if there were a violation,
             the principal had qualified immunity from lawsuit. The U.S. Court of Appeals for the
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           Ninth Circuit reversed. The Ninth Circuit cited Tinker v Des Moines Independent
           Community School District. Because Frederickwas punishedfor his message rather
           thanfor any disturbance, the Circuit Court ruled, the punishment wos unconstitutional.
           Furthermore, the principal had no qualffied immunity, because any reasonable principal
           would have known that Morse's actions were unlm,uful."

    140.   Defendants are not immune to this action, specifically because Defendant, Myron L.
           Hester's action were willful and wanton.

    l4l.   Defendant Myron L. Hester's actions were deliberate and intended to cause harm
           to Plaintiff. His email was written with an utter disregard and indifference to the welfare
           of Plaintiff.

    142.   Principal Myron L. Hester is not immune from the claims made by Plaintiff particularly
           because the incident that led up to Plaintiffs firing had nothing to do with CPS business,
           and their handling of the matter was arbitrary and capricious. "As an example,
           individual members of the Board of Education, as government officials responsible for
           direction of a school superintendent, were privilegedfrom liabilityfor alleged
           defamation of aformer superintendent if their statements were mqde within the scope of
           their fficial duties. " Roberts v. Board of Education,25F. Supp. 2d866 (N.D. Il1.
           1e98).

    1,43. Falsely stating to other individuals that a sexual harassment complaint was filed against
           Plaintiffregarding an individual that did not work where Plaintiffworked, lacked the
           elements of sexual harassment, indicating malice.

    144.   Defendant Principal Myron L. Hester would only be immune from Plaintiffs claims          if
           his assertion that a sexual harassment complaint were related to the duties held by
           Principal Hester and Plaintiff; and if it had actually occurred, and that is to be
           determined by a court of law.

    I45.   Defendant Myron L. Hester's email of November 21,2013 was not written in good faith.
           T4sLLCS t0t2-203.

    146.   Plaintiffsubmitted to this Court an unsigned "incident report." Defendant Myron L.
           Hester had no business acting upon it. Plaintiffalso submitted to this Court, an email
           that falsely stated a sexual harassment complaint was filed against him. Plaintiff has met
           his burden in proving defamation, slander, libel and emotional distress. Benhart v.
           Rockford Park Dist.,218Il1. App. 3D 554 (1991)

    147.   Because Defendant Myron L. Hester's actions were willful and wanton, and
           demonstrated malice towards Plaintifl and because the incident report had nothing to
           do with the scope ofDefendant Hester's or Plaintiffs official duties, Defendants are
           not immune from Plaintiffs claims.

VI. MALICE, WILLFULAND WANTON CONDUCT
    148. AWillful    and Wanton Conduct is a willful or wanton injury that must have been
           intentional or the act must have been committed under circumstances exhibiting a
           reckless disregard for the safety of others, such as a failure, after knowledge of
           impending danger, to exercise ordinary care to prevent it or a failure to discover the
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               danger through recklessness or carelessness when     it could have been discovered by the
               exercise of oidinary care. lHenslee v Provena    H       .,369 F. Supp. 2d 970,977 -978
               (N.D.Ill.20o5)l
        l4g.   Wi}lful and wanton conduct means "acting consciously in disregard of or acting with       a
               reckless indifference to the consequences, when the Defendant is aware of her conduct
               and is also aware, from her knowledge of existing circumstances and conditions, that her
               conduct would probably result in injury." [Duncan v. Duncan (In re Duncan), 448 F.3d
               725,729 (4th Cir. Va. 2006) "A course of action which shows actual or deliberate
               intention to harm or which, if not intentional, shows an utter indifference to or conscious
               disregard of a person's own safety and the safety of others."[Siemer v. Nangle (In re
               Nangle), 274F.3d481,483 (8th Cir. Mo. 2001)l

                       Pursuant to the Act, "upon request, an employee has the right to
                       submit a written explanation of any statement in his or her lile if
                       the employer will not agree to remove or change that statement,
                       as well as obtain a copy of all or part of the information
                       contained in his or her lile. Furthermore, aru employer is
                       prohibited from divulging a disciplinary report, letter
                       ofreprimand, or other disciplinary action to a third purty
                       unassociated with either the employer ot the employee's
                       bargaining agent without giving wrifren notice to the employee,
                       by.first class maiLn
VII.   DAMAGES
        150. If the email of November 21,2013 did not exist, Plaintiffwould have been earning
               approximately $31,000.00 (Thirty-One Thousand Dollars) per year.

        151.   Plaintiffis currently 25   yearc of age, and has at least 35 more good years to work   prior
               to retiring.

        152.   Plaintiffassess his damages as the amount he was to make, prior to the arbitrary and
               capricious actions of Defendants, times the number of years he intended to work for
               Defendants.

        153.   Plaintiffcontends that $31,000.00 (annual income) x 35 (no of years left to work), is
               equivalent to $1,085,000.00 (One Million, Eighty-Five Thousand Dollars).

VIII. IN CONCLUSION
        Sadly, we live in a society where a person can be targeted by another person for no reason. It's

worse when that person holds a position of authority over one. The legal definition is "under color           of

1aw." This action puts a person's future and fate in that person of authoritv hands. This is what

happened in the instant case. Instead of looking at Plaintiffs file to see   if Principal Myron L. Hester's

email of November 21,2013 matched his actual file and records, and giving Plaintiffa chance to speak,

regarding a sexual harassment complaint, they arbitrarily and capriciously judged and terminated him.
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       WHEREFORE, Plaintiff respectfully requests judgment in his favor and against Defendants,

The City of Chicago, The Chicago Public Schools, The Board of Education of Chicago, IL, and Myron

L. Hester, Principal, individually and in his ofEcial capacity.

       A.      Compensatory damages for Plaintiffs emotional distress and damages, loss of standing
               in the community, damage to his reputation, and loss of wages in the amount of
               $1,085,000.00;

       B.      Punitive damages;

       C.      Injunctive relief requiring that Defendants remove from Plaintiffs file, and destroy the
               damaging and defamatory email of November 21,2013;

       D.      Injunctive relief, requiring that Defendants remove Plaintiffs rutme from their Do-Not-
               Hire list;

       E.      Reasonable attorney fees; and

       F.      For such other relief this Court deems just.


                                             JURY DEMAND

               Now comes Plaintiff, GREGORYALEX, pro se, and demands           a   trial by jr.y.

                                              Respectfu lly Submitted   :




GREGORYALEX, pro           se
PIaintiff
4747 S. King Drive
Chicago,IL 60615
(773\3st-0142




DATED:       olz;lzos
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Re: Gregory Alex
1 rnessage




     OnThu, Nov21,20134t5:                                        ter@CpS;edu>
       Mr. Krieger,

       Since his arriral in September, ltllr. Alex's work performance has not met our expeclations. Here are a few
       cohoerns:


                  He left the building during his lunch break to haw sexual relations with a bus aide who later filed a
                 sexual harassment complaint about him and said he spread rumors about it to stafimembers at
                 the school; when my AP and I had a talk with him in my office about this matter, he initially denied
                 it but when we brought in a staff memberwho he spoke to aboul the lunch break encounter he
                 ultimately admitted that he did meet with the bus aide and had sex with her and that he did tell two
                 employees at the schoolwhat he did with her
                 Poor work peformance; he constantly has to be reminded about his duties and where he should be
                 to tulfill those duties
             a   He eats food in the offce while working and assisting parents and visitors
             a   He has had inappropriate conversations with staff members making sexual innuendos to them;
                 according to teachers when a staff member told him he had,food/crumbs still on his face, he
                 responded that it was due to him finishing perlorming oral sex
                 His work performance during recess and lunch is also sub par; he poorly supenises and monitors
                 students during lunch and recessr his primary work duty. My AP and I har,e repeatedly reminded


                                                      bt                               /"1,4
                                      "ffxA,'
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            him about and modeled for him.actirc'monitoring and engagement str:ategies With students, and he
            has not complied with our eXpectations

     tn sum, Mr. Alex just has not been an bsset to Kozminski.



     Oh Thu, Nov21, 2O'13 at 4:02PM, Krieger, Thornas <tkrieger@cps;edu> wrote:
       Mr, Hester -

       I receir,ed your request to terminate this probationary employee. Could you please respond to this
       email with a list of the reasons for which you want to lerminate Mr. Alex?

       Thank you.

       Tom Krieger
       Office of Employee Engaqernent
       773-553-1193 {phone}
       773€53-120{ (fax}




     Myron L. Hester, Ed.S
     Frincipal
     Kozminski Elementary Community Academy
    936 Eas{ 54th Street
    Chicago, lL 606{5
    773€35{980 main
    773-535-0982 fax
    www.kozacademy.org




Myron L. Hester, Ed.S
Prineipal
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                                  OFFICE OF EMPLOYEE ENGAGEMENT
                             125 South ClarkStreet, 13h Floor      .   Chicago, lllinois60603




                                                    December 13,2013


 Gregory AIex
 4747 S King Dr
 Apartment9OT
 Chicago, lL 60615

                                                    Probationary Part-Time Aide
                                                    EMP lD: 000234907


 Dear Mr. AIex:

       Please be advised that your employment with the Chicago Public Schools is
 terminated effective immediatelv. Be further advised that you are ineligible for future
 employment with the Chicago Public Schools.


                                                    Sincerely,


                                                    Tl^A   q)
                                                    ihorrc  A. Krie66r
                                                    Assistant Director of Employee Engagement


 TAK:gg

 cc:    James Ciesil
        Lorrie Cosme
        Myron Hester
        Taalib-Din Ziyad


 I received the original letter on this                     day of                              2013.



                                                                             Gregory AIex




                                                                                                3,{4
                                          Educate   ,   lnspire.   Translorm
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                              OFFICE OF EMPI..OYEE ENGAGEMENT
                         125 Soulh ClarK Slreet.   1:jl Foor . Chrcago, lllinors 60603



January 21,2014


Gregory Alex
4747 S. King Drive, Apt. 907
Chicago, lL 60615

Dear Mr. Alex:

I am writing in response to your recent correspondence, wherein you asked for a copy of
your "personnel records," and also inquired about the reasons behind your recent
termination.

With respect to your personnel records, enclosed with this letter is a complete copy of
the file that this office maintains. As you can see, the file contains only the December
 13,2013 termination letter, as well as a two page email from the principal of Kozminski
Elementary School. !f you would like to review your full personnel file, please contact
Carline Altine in our Employee Records Department to make an arrangement to do so.
Ms. Altine can be reached at773-553-1112.

The reasons for your termination are described in Principal Hester's email. We have
reviewed the record and determined that your termination was procedurally correct and
factually warranted.

lf you have any questions, please call me al (773) 553-2321. Thank you.



Sincerely,



David Ruhland
Director of Employee Engagement

Enclosures

cc:     Carline Altine




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                                                                                         {'f 4
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                     ILLINoISMUNICIPALDEPARTMENT,FIRSTDISTRICT
GREGORYALEX.                                            )
                                                        )
       Plaintiff.                                       )
                                                        )
v.                                                      )       Case   No.:      20L4 0L1132
                                                        )
MYRON L. HESTER. PRINCIPAL Of                           )
KOZMINSKI ELEMENTARY                                    )
COMMUNITY ACADEMY. tndividuallv.                        )
and as a Representative of the Chicago                  )
Public Schools. and THE CHICAGO                         )
PUBLIC SCHOOLS (CPS).                                   )
                                                        )
        Defendants.                                     )

                              SWORN AFFIDAVIT OF GREGORY ALEX
                                                                                              to the best of
       I, Gregory Alex, do hereby state that the following statement is true and accurate
my knowledge and belief:
                                                                                                 am loved bv
       I am a voung man that was raised well. Mv mother was alwavs there for me and II loved            school
a host of familv and friends. Ever since I wii a child. I aspired
                                                                    to  work in a school.  as
                                                      career.
so much that,s where I wanted to work: to build mv'school     In 2013.   mv hard work   paid  off.  It was like
                                                            svstem.    I understood  I was  iust  startinE off.
I was in a dream. working in the ctricago-Pubfii                                        system,    And   I was
ili;r*d ;; .rv'.ariitionil training I knew I wouJd       rapidly Tgve-   up within  the
correct. Back  to ur.r.,l p.ii.a int"#i.*s and  was  deem6d   eiigiute foipositions I applied for.

        In December. 2013. WithOut Cause or Drovocation. mv career... mv dream came           to a dramatic
                                                                       compliments   at mv  new  position' I
 halt. At first. I .oufaJiuna.rri*a whv since I was setting     manv
 took the libertv of requesting a coDV oi *u u-rlovee file     to see if it would  shed some  light on what
                                          just                 in     file.  There wasn't a stack of papers,
 happened. rvrv:awdroppua \^rrt.n t saw        the gr.re entry    my-
 iil[;;;"'raiy      aiscipfiriary reports or ovrite-rps. There was one document, an email.
                                                                                                  stated that a
        This email that was aDDarentlv sent to other people. and discussed with others.
 sexual harassment complaint had been filed against me.         That  was   news  to  me.  as  normallv   when
                                                                        tle jqrisdiction                 sexual
 someone files a .o.pl"ini against ro*.on., tt.y ur. notified      v!a-                   that handles
 harassment claims. i't it n."E happened because one was never filed'
                                                                            The email was false'

                                                                                                        of. and
        Mv life changed forever when I read it. Evervthing I'd ever hoped for andnotdreamed    been   written. I
                                                                                   email
 trained for were gone - iust like that. in an instant. I realized that.  had that
 would still be *ort ine in mv new location. The    principal  was  reallv  saddened   bv  it and stated  to me
 that she had no choice but to tet me-go. The good news is that she said
                                                                                     I could return once the
 misunderstanding had been rectified.

        As an ..at will,, employee. I was iust that. An "emDloyee" that was at will. I wasn't
                                                                                                        a victim at
                                       puUrii                            mv    right to not   be   violated  and to
 will. Mv working at the Chicagop...iirionSchools defamed and slandered. I should have left
                                                         didn't  waive
                                                                                                                that
 receive iustice. I didn't  give mv              to  be
                                                                                                           prior  to
 position in the ,rrn. Inuntal. emotional ind  phvsical  state I was  in  when    I was  first  hired  and
                                                  if the principal. for  his  own   Dersonal   reasons.  set out on
 the email 0f Novemb er 2L.2013. It's almost as
                                                                          just 25 years old, so this is such a
 crusade ro ruin *u, .na rr. aial"Jituil n. ruined my career. I'm
 traumatic event.
                                                                                                   anv recourse in
         There are no laws that state that I can be damaged and violated. and not have
                                                                        are  laws..  plenty  of  them,  that state a
 taking ;.i6;;uri u.crme of where I work. In      the  contrary, there




                                          "/irA,i,b              C'
        Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 26 of 40 PageID #:78



 Derson cannot knowinglv provide false statements to someone about another Derson. That's referred to
 as defamation of character. What was falselv stated about me was
                                                                written and spoken so I have proven
 mv claims.      I   need resolve.   I   need iustice.   I   need to have this matter heard by a tribunal io i'.rn
 become w.holg again, and to_deprive me of that right            will be the end of a promising career and will have
 a devastating impact on my life.

        I cannot eat. I am havinq nightmares. problems sleepinq. I want to be alone. when previouslv I
 was a social butterflv. The damage is intense. I am humiliated. damaged beyond imaeinatio; ind I
 don't know what my future holds. It would be different had I actually did something-*.org, brt u
 sexual harassment complaint was NOT filed against me.

        As the Plaintiff in this case, I hqy. rjght to confront my accuser. I have a right to see the
                                             _.
sexual harassment complaint that was filed. I won't be seeing ii because one does not exist. I have
beel damaged by Myron L. Hester's actions. It was cynical,Intentional, done with malice, and wai
willful and wanton. It was all planned to cause harm io me and it did infact, cause me harm.
       As a U.S. Citizen, I am entitled to redress and justice. I need to be back the way I was prior to
that email that defamed my character and caused me s-evere emotional distress.



GregoryAlex
Plaintiff



By signing this sworn affidavit, Affiant acknowledges that the foregoing statements are true and
accurate to the best of his knowledge and belief; and made under pinalty of perjury, pursuant to
735 ILCS 5/1-109 of the Illinois Code of Civil procedure.




                                                                   b-a4- i4
                                                               Dated



                                                 NOTARY PUBLIC

signed and swom        *wdta;,ryt o l/gr                        .tn, J{aay        or Marc h,2ot4.
Type of Identification    produced:
  . State ID
XDriver's
       Other
                                                                                                     rrilatj:   T..:ntJ!:r. .j,n
                                                                                                                                   i,*,


Notary Public:


My Commission Expires:
       Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 27 of 40 PageID #:79



                    ILLINOIS MUNIC IPAL        DE   PARTMENT, FIRST DISTRICT

GREGORYALEX.                                         )
                                                     )
       Plaintiff,                                    )
                                                     )
\/                                                   )      Case   No':    20140LLL32
                                                     )
MYRON L. HESTER. PRINCIPAL of                        )
KOZMINSKI ELEMENTARY                                 )
COMMUNITY ACADEMY. Individuallv.                     )
and as a Representative of the Chicago               )
Public Schools. and THE CHICAGO                      )
PUBLIC SCHOOLS (CPS),                                )
                                                     )
       Defendants.                                   )

                            SWORN AFFIDAVIT OF STANLENE ALEX
                                       Witness No. 1


I, STANLENE ALEX, do hereby        state under oath that the   following are true and accurate statements
to the best of my knowledge and belief:

       i.. I am the mother of Gregory     AIex and I am scheduled to be a witness at his upcoming trial
       regarding this matter.

       2. As a mother, I was extremely proud when my son graduated from the University of Illinois,
       where he obtained his Bachelor's Degree. I raised my Gregory to be the best he could be, while
       at the same time, respecting others.

       3. In December   2013, Gregory called me, excited about a new position he interviewed for and
       was hired to perform.

       4. A short time later, Gregory came to the house. He was he in tears. I thought he had gotten
       jumped on, or someone had physically harmed him. I asked what was wrong because it's very
       unusual to see him cry.

       5.  Gregory told me that out of the blue, just like that, his career was over. He said the new
       principal called him into the office and said she regretted that she had to let him go; that it was
       out of her hands.

       6.  In January, 20L4, Gregory came to the house again. He showed me an email he received
       from an office downtown. He could barely speak after handing it to me. Needless to say I was
       shocked and saddened. He said based on the email, he now knew the reason his career ended so
       abruptly. Apparently, the principal of his old school told others that a sexual harassment
       complaint had been filed against my son. This was not a tme statement. I raised an honest,
       decent young man, not the sexual predator or pervert he was made out to be in the email I read.
       Watching my son cry, I could do nothing but cry with him.
                                              *GROUP EXHBITS       A'
             Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 28 of 40 PageID #:80



             7. Shortly thereafter, I noticed that Gregory began to lose weight. I became very concerned
             about him and offered to prepare his meals but he had no appetite. He refused to eat.

             8. I saw such hurt and pain in my son's face. He kept telling me that he never sexually
             harassed anyone and that no complaint had ever been filed against him. I believed him. The
             email I read has the capability of ruining his life and career. As a matter of fact, the damage to
             his reputation and character has already started.

             9. I watched my son become more and more depressed. In one instance when I was able to
             convince him to eat, about 5 minutes later, he ran into the bathroom and the food came up. He
             was unable to hold it down.

             L0. I told Gregory to put his coat on so we could go to the doctor. He said he would go by
             himself and he left my home. I found out later from his father that he went home and
             climbed into bed and went to sleep. Gregory said he had no strength or will to do anything but
             go to sleep. He also said he had no health insurance, meaning he was unable to pay for hel[.

             1L. Through tears, he kept saying how his future is over, how it's in jeopardy and how no one
             will hire him for any decent position with that being written about him. He said the dream that
             motivated him to excel in College was stripped away without him doing anything wrong.

             L2. Words cannot express how a mother feels when she sees her son hurting so badly and
             slipping into such depression, not over something he did wrong at work, but over a sexual
             harassment comment that he swore never happened.

             1-3. I instructed my son to take the matter to a court of law. I figured if the principal stated he
             had been accused of sexual harassment, surely there was a complaint he actually saw I told
             Gregory that by filing an action in court, the principal would be required to produce the sexual
             harassment complaint he wrote about.

             14. I hope to God this can be fixed. Gregory worked hard in College, is a good, honest man
             and did not deserve this. I've never witnessed my son so depressed, down and out until now.
             My heart is broken because of the emotional trauma my son is experiencing.

By signing this sworn affidavit, Affiant acknowledges that the foregoing statements are true and accurate
to the best of her knowledge and belief; and made under
                                                    roer penalty
                                                         peniilry or perjury, prfsuant
                                                                  of perJury, pu;suant to 7;
                                                                                          73S ILCS S/1-10g


                                                                  z la,/ /,
               Code of Civil


  gnature of Affiant                                      Dated


                                                NOTARY PUBLIC

signed and sworn        ,o,            /3      mday                           of March, 20L4.

Tlrpe   of                                                        Driver's License            Other
Notary Public:

My Commission Expires:
       Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 29 of 40 PageID #:81


                      ILL INO IS MUNIC IPAL DEPARTryIENT, FIRST DISTRIC T
GREGORY ALEX.

       Plaintiff.

V.                                                           Case   No.:     2Ol4 011132

MYRON L. HESTER. PRINCIPAL Of
KOZMINSKI ELEMENTARY
COMMUNITY ACADEMY. Individuallv.
and as a Representative of the Chicaso
Public Schools. and THE CHICAGO
PUBLIC SCHOOLS (CPS).

       Defendants.

                           SWORN AFFIDAVIT OF JALEEL MUHAMMAD
                                       Witness No. 2


                    I, Jaleel Muhammad. under oath, do hereby attest to the following:

1.     I am GregoryAlex's older brother and am very      concerned about my brother GregoryAlex on
       many levels. He has always been very responsible, considerate, respectful, and "goal-oriented."

2.     My little brother has slipped into a depressive state due to the unfortunate circumstances
       involving an accusation made against him that he states never happened and was not true.

3.     I can empathize with him    because this is the first time that his core character and morals have
       not only been called into question, but has been unjustly penalized. Of course I've known him
       all of my life, and I bear witness to his depressed state of mind due to being accused of a sexual
       situation in an environment that involves children.

4.     My brother has not slept well since being being made aware of the email he showed me and the
       resulting consequences which put an immediate halt to his lifelong dreams. He told me that all
       of the studying and hard work he did in College was all for nothing.

5.     Gregory's inability to work within the Chicago Public Schools has stripped him of his dreams
       and goals. Everything he's worked so hard to achieve, was gone just like that based on two
       words, according to Greg: sexual harassment

6.     I bear witness to my brother's remarkable reputation, that   has been sullied.

7.     Gregory graduated from the University of Illinois in Champaign with a Bachelors degree and
       resolute motivation to educate and work with children within the Chicago Public Schools.

B.     Quite frankly, Gregory was reared in a stable and respectable household which always
       emphasized respect for others; women in particular. We've never had any issues whatsoever
       with my little brother (17yrs my junior). He's truly one of the most respected males I've ever
       embraced!
         Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 30 of 40 PageID #:82



9.      At the beginning of the year, in January, I invited Gregory to my house when I heard he would
        not eat and was slipping further into depression. His refusal to eat caused him to lose about L0
        pounds since being made aware of that damaging email. It has and will continue to have a
        direct and negative impact on his career, future and dreams.

10.     I'm hopeful that a fair and sensible outcome will come out of this so that Gregory can   resume
        living out his lifelong passion and come out of the depressed state he has sunk into.

11.     Hopefully, my little brother will be able to support himself financially again at a level that
        matches the Bachelor Degree he holds, and that he can put this unfortunate incident behind him
        and move forward with his life.

L2.     There are several high school principals that covet Gregory's employment, and has informed my
        brother that he is welcome to return once this incident has been rectified.

13.     The family of GregoryAlex awaits the day that this tarnish is removed from his record and
        reputation and he is able to live huppy and motivated again, rather than dark, depressed and
        emotionally ill.

        Best regards. Jaleel Muhammad, Brother of GregoryAlex
                      195 N. Harbor Dr. #5408, Chicago, IL. 6060i. - 312 519-0750



By signing this sworn affidavit, Affiant acknowledges that the foregoing statements are true and
accurate to the best of his knowledge and belief; and made under penalty of perjury, pursuant to
735 ILCS 5/1-109 of the Illinois Code of      Procedure.


                                                      3- 2s -tot\
                                                    Dated

                                                               Ttr7dq
Signed and sworn to by                                             day of March, 20L4.

Tlrpe of ldentification produced:
       State ID
      Driver's
      Other

Notary Public

My Commission Ex                                                   Seal:
         Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 31 of 40 PageID #:83


                     ILLINOIS MUNIC IPAL DEPARTMENT, FIRST DISTRICT
GREGORYALEX.

        Plaintiff.

v.                                                          Case   No.:    2014 0LLL32

MYRON L. HESTER. PRINCIPAL Of
KOZMINSKI ELEMENTARY
COMMUNITY ACADEMY. Individuallv.
and as a Representative of the Chicago
Public Schools. and THE CHICAGO
PUBLIC SCHOOLS (CPS).

        Defendants.

                         SWORN AFFIDAVIT OF BARBARA RICHARI)
                                     Witness No. 3

       I, BARBARARICHARD, under oath, provide to all those involve{ my sworn testimony
as to my knowledge of events regarding GregoryAlex and his character and emotional damage.

a. I am a long-time friend of the family   and have known Gregory since he was two years old.

b. I've witnessed Gregory grow and develop into a fine young man, and can sincerely state that I am
honored to know him and his family.

c. After graduating from high school, Gregory was excited about attending College    and pursuing his
career in working within the Chicago Public School system. He has always been very enthusiastic and
eager to work with children.

d. I am a retired CPS educator after 38 years of service, and I am aware  of the impact the email can
and will have on his career, and person in general. No one wants to be falsely accused of sexual
harassment or anything associated with it.

e. As   a former CPS employee, I was excited when Gregory told me about the new position he got in
December, 20L3. I worked in the school system 38 years, so I have first hand knowledge as to how his
future and career was secured, once he was hired.

f.Gregory told me, while smiling from ear to ear, that he was moving up in his career and how God
had blessed him by placing him in the very position he dreamed of.

g. In January, Gregory's mom, Stanlene Alex, called me sounding     so down and   out. I asked her what
was wrong and she told me about an email that falsely accused her son of sexually harassing someone.

h. I immediately went to Stanlene's home and read the email. I tearedup because I knew, that with
those words connected to a person within the school system, the damage could be extensive.
          Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 32 of 40 PageID #:84



I. When I read the things written about Gregory       by the principal it blew my mind. It contradicted the
Gregory we all know and love.

j.   I have to admit, I felt     Gregory did because I know him as being a positive, respectable,
                               as bad as
and professional young man; not a person that could do what was written about him.

k. I tried my best to reassure him that he would      get through this, but I heard in his voice and saw in his
face, a sense of hopelessness. He kept asking why would the principal lie on him like that.

l. Hearing about his eating problem, being unable to hold food down, and his refusal to do the things
he was doing prior to being accused of sexual harassment, I took the liberty of inviting him out to
lunch. He refused and said he just wanted to be by himself.

m. I saw the tears, the fear in his eyes, his weight    loss, and the depression he was going through. He
expressed concern that the email has already damaged him. According to the new principal, Gregory
was doing a good job and all of a sudden, found himself having to defend against a sexual harassment
accusation made not by a woman, but by a male principal.

n. Based upon my 38 years with         CPS, t know the email   will   damage his future endeavors; it's already
has and   will continue to do so.
o. The Gregory I know could         have never done what he has been accused of.

p. As a long-time friend of the family, I've never seen him exhibit any negative behaviors around me
nor my family; or women in general. Gregory was taught to respect women and his elders, and that's
how he lived his life. Hence, based upon my knowledge of Gregory and his character and personality,
I'd would say that the email written about him is not the truth. Again, I've known him since he was 2.

By signing this sworn affidavit, Affiant acknowledges that the foregoing statements are true and
accurate to the best of her knowledge and belief; and made under penalty of perjury, pursuant to 735
ILCS 5/1-109 of the Illinois Code of Civil Procedure.

-    Barbara Richaril, Former CPS Educator        *
     '3   *frr^*           f?ru;,""^e-                         ,Ta't t'l
Sig*t *          Affi.rt                                 Dated
            "f


Signed and sworn to by




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       Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 33 of 40 PageID #:85



                  ILLINOIS MUNIC IPAL DEPARTMENT, FIRST DISTRICT
GREGORYALEX.                                         )
                                                     )
   Plaintiff.                                        )
                                                     )
v.                                                   )       Case   No.:      20L4 01L132
                                                     )
MYRON L. HESTER. PRINCIPAL of                        )
KOZMINSKI ELEMENTARY                                 )
COMMUNITY ACADEMY. Individuallv.                     )
and as a Representative of the Chicago               )
Public Schools. and THE CHICAGO                      )
PUBLIC SCHOOLS (CPS).                                )
                                                     )
      Defendants.                                    )

                                SWORN AFFIDAVIT OF MILAN               HILL
                                         Witness No.4

      The undersigned,    MILAN HILL,      do hereby give her sworn testimony as to relevant events
concerning one Gregory Alex.

L.    I am a close friend of Gregory Alex and has known him for about         12 years.

2.    I met Gregory years ago by    a mutual   friend. He is a very college-oriented young man that   has
      high hopes and career aspirations.

3.    Over the past L2 years, I've watched Gregory grow into such a fine young man and I am truly
      honored to be in his circle of prestigious friends.

4.    In January, I received a call from a young man that was all choked up. I knew it was Gregory
      not by the voice on the phone, but by the number that appeared on the telephone.

5.    Gregory was extremely upset. He asked       if I could come   and talk to him because he was
      very depressed and didn't want to keep worrying his family.

6.    I went to Gregory's home and talked to him. He told me his life is ruined. I asked what was
      going on, and he reached into the table and handed me a sheet of paper. It appeared to be an
      email accusing my dear friend of being involved in a sexual harassment complaint.

7.    I was shocked and in disbelief ! Greg is one of the finest men I've ever known. The email did
      not match the GregoryAlex I had come to know and love as a second brother.

8.    I can and will testify to Gregory's character. He has many friends that love and care about
                               as
      him that would also be willing to testify.

9.    Gregory still is depressed. He is losing more and more weight and I can't really blame him. I'd
      be crushed if I were accused of being involved in a sexual harassment complaint.
         Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 34 of 40 PageID #:86



10.      The Gregory I know would never do anything that would jeopardized his ability to further the
         growth of the next generation of youth.

L1.      I am confident that if you talk with his colleagues and former teachers, you will realize that   a
         grave mistake has been made and Gregory and his character has been grossly misrepresented.

12.      I remain confident that Gregory's record will be cleared and he can move pass this traumatic
         event that is occurring in his life.

13.      This could not have happened to a better person. There are so many people that adore this man.
         The picture that has been painted about him based on my knowing his character, is not true.

14.      There has clearly been some form of misjudgment and communication regarding GregoryAlex.
         We all have to go through trials and tribulations and people with tell untruths about your
         character.

L5.      As Gregory's dear friend, I hope this young man is reinstated and made whole.


Milan Hill
Candidate
The Chicago Police Department



By signing this sworn affidavit, Affiant acknowledges that the foregoing statements are true and
accurate to the best of his knowledge and belief; and made under penalty of perjury, pursuant to
735 ILCS 5/1-109 of the Illinois Code of Civil Procedure.


                                                      gt
      ture of Affiant                                 Sated
                                                              /ffi

                                            NOTARY PUBLIC

Signed and sworn to by    tvlz*ry' ,4/zz                 tnis.Tlbday      of March, 20L4.

Type of Identification produced:
      State ID
 *    Driver's License
      Other

Notary   Public:      T

My Commission Expires:       5 ?e \--1                               Seal:
       Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 35 of 40 PageID #:87


                    ILLINOIS MUNIC IPAL DEPARTMENT, FIRST DISTRICT
GREGORYALEX,

       Plaintiff.

V.                                                          Case No.:       20L40IL132

MYRON L. HESTER. PRINCIPAL Of
KOZMINSKI ELEMENTARY
COMMUNITY ACADEMY. Individuallv.
and as a Representative of the Chicago
Public Schools. and THE CHICAGO
PUBLIC SCHOOLS (CPS).

       Defendants.

                         SWORN AFFIDAVIT OF MARIA BLACKWELL
                                     Witness No. 5

I. Maria Blackwell. do hereby swear and state under oath. as to her testimony about the case reqarding
Gregory Alex and the Board of Education / The Chicago Public Schools provide the following
testimony:

1.     I have known my best friend, GregoryAlex, for 4 years.

2.     Those in our circle of friends know that if anv of us needed anv assistance. help. advice or
       whatever the case mav be. we could always depend on Greg. He's fair, he's considerate and he
       is an overall kind person. His mother raised him well.

3.     Greg is going through some serious emotional issues right now. He used to call me to go out to
       dinner. lunch, or to just hang out. He has stopped calling and we do not go out an)rmore. That's
       not like him.

4.     When I found out Greq was accused of a sexual harassment incident, I first thought to myself,
       ".lVo. Not the Greg I know."

5.     I was shocked when I saw him and the weight he's lost. His overall appearance was gray,
       depressing and sad.

6.     He kept asking me what will he do now, how will he be able to live with someone accusing him
       of sexual harassment, when it's a lie.

7.     I was at a loss for words. What could I sav to a person that talked non-stoD about being a
       positive role model for children now that he was in the position to do so, based upon his new
       career with the Chicago public schools.

8.     I could not console him. I told him I'd keep checking on him to see if    he were alrieht. however,
       after I left and tried to call. he refused to answer the phone. Gres indicated he had no health
       insurance and was unable to get any proper help for his emotional state. He had no money to
       pay.

9.     Evervbodv is worried about Gregory. He won't eat. he won't live his life the wav he was prior
       to be accused of being involved in a sexual crime. and he has stoDDed socializing. Gregory has
       retreated into his own dark world, hoping he get some type of resolve out of the matter.
        Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 36 of 40 PageID #:88



10.    As quick as his dream came to fruition. it was taken awav. I said to Greg. but vou were doing so
       well. You told me the people at vour new school love vou. And he said. "Yes thev do. The
       principal told me she hated to let me qo and that I could come back once this is fixed." Thank
        God for that; meaning there is hope and a light at the end of the tunnel.

L1".   As of the date of mv signing this document. Gregory is still unable to live his life the wav he
       was prior to being accused. He said what's left, if he has no career and his dream is gone?

12.     The last time we spoke. Gregorv was talkinq one minute. and the verv next minute, he was
        crying on the phone. It's hard and heart wrenching to hear a grown man cry.

13.    Gregorv went from being a happv-go-luckv man. that loved life itself and loved social events to
       being a recluse. Todav. he barelv leave the house unless he absolutelv has to. He stopped
       calline not iust me like he used to. but other friends as well. I know mv friend. and I honestlv
       believe that all Gregorv need is iustice and the rieht to be heard. He wants to tell a court what
       happened to him and what the principal wrote and spread to others, leading to a career-ending
       situation.

14.     Being labeled              with sexual hangups and a person that sexually harassed a woman
                          as a Derson
        has apparentlv caused Gregorv serious emotional damage. I am prepared to tell a iurv about the
        character of this voung man that onlv wanted to help children and work within the Chicago
        Public Schools. It's a shame that one Derson was able to dash his dream iust like that. I am
        hoping and praving that once this is over. Greqorv will be back to the way he was prior to being
        accused of sexual harassment against a woman, even though the accusation was made by a man.

Thank you. Maria Blackwell, Orthodontisr Assistdnt




By signing this sworn affidavit, Affiant acknowledges that the foregoing statements are true and
accurate to the best of her knowledge and belief; and made under penalty of perjury, pursuant to
735 ILCS 5/1-109 of the II       Code of Civil Procedure.

                                                         3.9r/    "l;
Signature of                                         Dated

                                           NOTARY PUBLIC

Signed and sworn to by            I                      ai, &#      day of March, 20L4.


@      state   ID { >'ts Slf,f          &0 r   6
_      Driver's License
       Other

Notary Public:
                                                                                            OFFICIAL S|EAL
                                                                                           KAIRICE LDOTSOII

                                  a-l UlaO+
                                                                                    IIIO?ARY PUH.IC. STAIE OF ILLINOIS

Mv commission     Exoires:                                           Seal:           ilr COmfr SSION EXPIRES:0?191 7
         Case: 1:14-cv-03821 Document #: 1 Filed: 05/23/14 Page 37 of 40 PageID #:89


                      ILL INOIS MUNI     C   IPAL   DE   PARTMENT, FIRST DISTRIC T

GREGORYALEX.                                              )
                                                          )
         Plaintiff.                                       )
                                                          )
v.                                                        )       Case    No.:      20L4 01LL32
                                                          )
MYRON L. HESTER. PRINCIPAL Of                             )
KOZMINSKI ELEMENTARY                                      )
COMMUNITY ACADEMY. Individuallv.                          )
and as a Representative of the Chicaeo                    )
Public Schools. and THE CHICAGO                           )
PUBLIC SCHOOLS (CPS).                                     )
                                                          )
         Defendants.                                      )

                               SWORNAFFIDAVIT OF EMMETT SMITH
                                                  Witness No. 6

        The undersigned, EMMETT SMITH, a cousin of GregoryAlex, do testify under oath that the
following statements are true and correct:

1. My    name is Emmeu Smith and      I am GregoryAlex's cousin.

2. We are very close and on occasion, attend social events together. Both of us were raised in strict
households, and were taught to respect others.

3. From the beginning of this    year until the present time, my cousin has changed.

4. I learned from     Gregory's mother, not from him, what was going on.

5. By the time I heard of the situation,     he had retreated and was no longer talking to anyone.

6. I went by his apartment to invite him out, and for the first time, Gregory declined going to a social
event.

7. I told Gregory to keep his head up and just pray       that justice   will be served.
8. I went to his apartment several times      and he simply was not      himself. He was in a dark room,
uninterested in anyhing anymore.

9. I asked if   he were on a diet, due to the enormous amount of weight he has             lost. His appearance
shocked me.

L0. I will provide testimony to a jury to give them an idea as to my cousin's character. There isn't a
person I know, that doesn't respect him.

L1. I pray that this is over soon. He appears to be sinking further and further in the hole.

1-3. It is heartbreaking to see my cousin going through so much emotional pain over something he
swears he did not do.

1-4. Gregory being accused of sexual harassment, and losing a new job that secured his future is just
too much for him to handle.
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L5. He's taking this very badly, and the sooner he receives some type of justice, the sooner he can
begin go move on with his life.

16. There are many people that can testify on Gregory's behalf. I took the liberty of calling others, and
there were so many people willing to sign statements as to his character. He's loved by many.

17. Something has to be done, otherwise, this career-ending accusation has the potential of ruining him
for life.

LB. The family is praying that the Court hear what he has to say and they be the judge as to what can
be done to bring him back to restore him to the position and mindset he was in prior to a principal
associating him with sexually harassing someone.


Emmett Smith
Line Assistant
Sundstrom Steel


By signing this sworn affidavit, Affiant acknowledges that the foregoing statements are true and
accurate to the best of his knowledge and belief; and made under penalty of perjury, pursuant to
735 ILCS 5/L-109 of the Illinois Code of Civil Procedure.




Signature of Affiant




Signed and sworn to by                                 this    ^,M day of March, 20L4.
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Type of ldentification produced:
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               Driver's License
               Other


Notary Public:


My Commission Expires:
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GREGORYALEX.                                          )
                                                      )
       Plaintiff.                                     )
                                                      )
v.                                                    )      Case   No.:    2014 011132
                                                      )
MYRON L. HESTER. PRINCTPAL of                         )
KOZMINSKI ELEMENTARY                                  )
COMMUNITY ACADEMY. Individuallv.                      )
and as a Representative of the Chicago                )
Public Schools. and THE CHICAGO                       )
PUBLIC SCHOOLS (CPS).                                 )
                                                      )
       Defendants.                                    )

                            SWORN AFFIDAVIT OF GM-GO.RY ALEX
                                       Witness No. 7


         I, GregoryAlex, swear under oath as to my sworn testimony, that my statements are conect and
ftue to the best of my knowledge and belief, and that I plan on testifying as a witness at my son's trial
as to the following:

L.     I am the father of Gregory AIex, and for the past 4 years, we've   shared an apartment.

2.     ['ve watched my son grow into the respected, respectable young man he is today. He's ambitious
       and trustworthy. Many people look up to him and know him as a good, decent guy.

3.     As a father, Iiving right there with Greg, I don't understand how is it that he can be celebrating
       passing another intervieq for new position one day, and a short time later, he's depressed,
       hidden in his room over being accused of being a part of sexual harassment complaint. My son
       was moving up quickly at Chicago Public Schools. Everybody knew it and were proud of him.

4.     Imagine the shame and humiliation of being associated with a sexual harassment issue? It was
       even worse because it's a schoof not an auto factory. It continues to have a devastating effect on
       him. I see it, I live it with him.

5.     Just recently, Greg sought out health insurance so now hopefully he can get the help that's
       needed.

6.     I'd leave food out for him and in the morning it would still be there. His room wasn't cared for
       anymore, his personal appearance went down the drain, his social life ended, and he became a
       recluse. It's as if he almost gave up all because of a principal that had no respect and regard for
       his career and future.

7.     Greg showed me a report that some lady wrote, that had no signature on it. No boxes on the
       form were checked or followed up on from anybody. All that I saw was an invalid document.
       This means that my son's future is ruined over that invalid piece of paper.
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       Those that know my son are confident he never sexually harassed anybody. The invalid report
       used against him doesn't say he did either.

       That email should have never been written and used against my son. He worked hard towards
       being a successful man and that email destroyed it all. He's going to be forced to take lower
       paying positions... diminishing his value, education and upbringing.

10.    Gregory wasn't some man, choosing to go down the wrong path. He choose to be somebody in
       Iife and to have a family, children, being able to support his family. When someone sees those
       words sexual harassment, right away his chances are diminished. He deserved better. If the
       school wanted to fire him, okay fine. Fire him. But don't ruin his life and career with an email
       leftbehinil that was not the truth.


                         GregoryAlex
                         Father of GregoryAlex


By signing this sworn affidavit, Affiant acknowledges that the foregoing statements art true and
accurate to the best of his knowledge and belief; and made under penalty of perjury, pursuant to
735 ILCS 5/f -109 of the Illinois Code of Civil Procedure.



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                                                     Dated              --r--



                                          NOTARY PUBLIC

Signed and sworn to                                   ,ni,   ZS{aay    of March   , zoL4.
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My Commission Expires:                           S
